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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

 JOHN DOE,

                Plaintiff,                                     Case Number 16-13174
 v.                                                            Honorable David M. Lawson

 DAVID H. BAUM, SUSAN PRITZEL,
 TABITHA BENTLEY, E. ROYSTER
 HARPER, UNIVERSITY OF MICHIGAN,
 and THE REGENTS OF THE UNIVERSITY
 OF MICHIGAN,

                Defendants.
                                                /

                  ORDER DENYING MOTION FOR RECONSIDERATION

        This matter is before the Court on the plaintiff’s motion for reconsideration of portions of

 the Court’s September 30, 2019 opinion dismissing the claims against certain individual

 defendants. The motion will be denied because the plaintiff has failed to identify any palpable

 defect in the Court’s decision, and in his present motion he seeks instead merely to reargue issues

 already considered and ruled upon by the Court.

        Motions for reconsideration may be granted pursuant to E.D. Mich. LR 7.1(h)(1) when the

 moving party shows (1) a “palpable defect,” (2) that misled the court and the parties, and (3) that

 correcting the defect will result in a different disposition of the case. E.D. Mich. LR 7.1(h)(3). A

 “palpable defect” is a defect which is obvious, clear, unmistakable, manifest, or plain. Mich. Dep’t

 of Treasury v. Michalec, 181 F. Supp. 2d 731, 734 (E.D. Mich. 2002) (citations omitted).

 “Generally . . . the court will not grant motions for rehearing or reconsideration that merely present

 the same issues ruled upon by the court.” E.D. Mich. LR 7.1(h)(3). A motion for reconsideration

 which presents issues already ruled upon by a district court, either expressly or by reasonable
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 implication, will not be granted. Hence v. Smith, 49 F. Supp. 2d 547, 550 (E.D. Mich. 1999);

 Czajkowski v. Tindall & Assoc., P.C., 967 F. Supp. 951, 952 (E.D. Mich. 1997).

        First, the plaintiff argues that the Court erred by dismissing the claims against Nadia Bazzy,

 because the amended complaint adequately alleged her personal involvement where it was pleaded

 that Bazzy “oversaw the implementation of the unconstitutional procedures and processes applied

 to Plaintiff including by the Appeals Board,” “personally approved the Appeals Board’s

 application of an unconstitutional process to Plaintiff,” and “personally recommended that he

 withdraw from the University, because according to Bazzy, the Resolution Officer, who also

 belonged to OSCR, the office she led, would likely expel Plaintiff.” The Court held that no viable

 claim was pleaded against Bazzy because, even if she “oversaw” parts of the then-established

 expulsion process, individual liability cannot attach under section 1983 where an individual merely

 knowingly supervises unconstitutional conduct and fails to act to prevent it. Hill v. Marshall, 962

 F.2d 1209, 1213 (6th Cir. 1992) (“[T]he mere failure to act, even in the face of a statistical pattern

 of misconduct, is an insufficient basis for holding a supervisor liable for the constitutional

 violations of her employees.”); Gregory v. City of Louisville, 444 F.3d 725, 751 (6th Cir. 2006).

 Instead, the plaintiff must show that a defendant “encouraged the specific incident of misconduct

 or in some other way directly participated in it.” Phillips v. Roane County, 534 F.3d 531, 543 (6th

 Cir. 2008).

        The bulk of the allegations against Bazzy describe ministerial communications with the

 plaintiff about the progress and outcome of the appeal process, and, after the appeals board

 completed its work, the “recommendation” to the plaintiff that he resign voluntarily due to the

 nearly certain prospect of expulsion. The Court concluded that nothing alleged in the amended

 complaint suggested that Bazzy participated as a member of the appeal panel or took any part in




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 rendering the decision on appeal. Considering the scope of the mandate, which limited the claims

 on remand to due process violations from the lack of a live hearing with cross-examination, there

 was no longer any viable claim based on any phase of the disciplinary process before or after the

 appeal board rendered its finding without first holding a hearing. The plaintiff has not pointed to

 any specific facts alleged in the amended complaint that call into question those legal conclusions.

        The plaintiff’s first argument is without merit.

        Second, the plaintiff contends that he adequately alleged the personal involvement of

 defendant Erik Wessel, who, according to him, “directed the University department, OSCR, which

 administered the unconstitutional appeal process.” The claims against Wessel were rejected on

 the same rationale as those against Bazzy. The plaintiff has offered no more convincing reason to

 question the Court’s ruling regarding Wessel.

        The plaintiff’s second argument is without merit.

        Third, the plaintiff contends that he adequately alleged the personal involvement of

 defendant Anthony Walesby, who, according to him, “personally approved and promulgated the

 unconstitutional policy at issue via his role as Senior Director for the Office of Institutional Equity

 and Title IX Coordinator.” However, as the Court previously observed, the factual allegations

 against Walesby were limited to a recitation of his historical job titles and the fact that he was no

 longer employed, and the lone substantive allegation that he “reviewed and approved the [OIE

 Investigator’s] Report,” which, as the plaintiff repeatedly has insisted, reached the “correct”

 conclusion in finding that the plaintiff did not commit any misconduct. Contrary to the plaintiff’s

 argument, he did not allege anywhere in the amended complaint any specific facts suggesting that

 Walesby “personally approved and promulgated the unconstitutional policy,” and he has not




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 pointed to any specific facts that were pleaded about Walesby’s involvement which the Court

 overlooked in its decision.

        The plaintiff’s third argument is without merit.

        The plaintiff has failed to identify any palpable defect in the Court’s conclusions or any

 specific facts that were overlooked by the Court which would compel a different outcome as to

 defendants Bazzy, Wessel, or Walesby. Moreover, all of the arguments raised in the motion

 previously were argued in the parties’ extensive briefing on their competing motions, and they

 fully were considered and addressed by the Court in its ruling.

        Accordingly, it is ORDERED that the petitioner’s motion for reconsideration (ECF No.

 159) is DENIED.

                                                                     s/David M. Lawson
                                                                     DAVID M. LAWSON
                                                                     United States District Judge

 Date: December 18, 2019


                                           PROOF OF SERVICE

                        The undersigned certifies that a copy of the foregoing order was
                        served upon each attorney or party of record herein by
                        electronic means or first-class U.S. mail on December 18, 2019.

                                                   s/Susan K. Pinkowski
                                                   SUSAN K. PINKOWSKI




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